                                                                                           Case 2:20-cv-00905-ODW-JEM Document 1 Filed 01/29/20 Page 1 of 10 Page ID #:1




                                                                                              1 Carol Lynn Finklehoffe. CA Bar No. 220309

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                                                                                                  One Biscayne Tower, Suite 1776
                                                                                              3 Miami, FL 33131

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                                                                                              6 Attorneys for Plaintiff

                                                                                              7
                                                                                                                           UNITED STATES DISTRICT COURT
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                                                                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                                              9
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




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                                                                                                  LORRAINE BRADY,                              CASE NO.:
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204




                                                                                             11
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12                  Plaintiff,                    PLAINTIFF’S COMPLAINT
                                                           MIAMI, FL 33131




                                                                                             13 vs.                                            AND DEMAND FOR JURY TRIAL
                                                                                             14
                                                                                                  PRINCESS CRUISE LINES, LTD., a
                                                                                             15 corporation for profit,

                                                                                             16
                                                                                                                 Defendant.
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                                                                                                                           COMPLAINT AND DEMAND FOR JURY TRIAL
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                                                                                                         Plaintiff, LORRAINE BRADY brings this action individually. This action is
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                                                                                             23 brought against Defendant PRINCESS CRUISE LINES, LTD. (hereinafter

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                                                                                                  “PRINCESS”), for personal injuries sustained by Plaintiff LORRAINE BRADY.
                                                                                             25
                                                                                                  Plaintiff, LORRAINE BRADY seeks damages and demands a jury trial on all issues
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                                                                                                  so triable against Defendant PRINCESS.
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                                                                                                                                          Jurisdiction
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                                                                                              2            1.    This action is an action under general maritime law and the laws of

                                                                                              3 California, as applicable.

                                                                                              4
                                                                                                           2.    The matter in controversy exceeds, exclusive of interests and costs, the
                                                                                              5

                                                                                              6 sum specified by 28 U.S.C. § 1332. In the alternative, if diversity jurisdiction does

                                                                                              7 not apply, then this matter falls under the admiralty and maritime jurisdiction of this

                                                                                              8
                                                                                                  Court.
                                                                                              9
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                                                                                             10            3.    This action is being pursued in this Court, as opposed to state court as
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                                                                                             11 otherwise allowed by the Saving to Suitors Clause of 28 U.S.C. §1333, because
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                  PRINCESS unilaterally inserts a forum selection clause into its cruise tickets that
                                                           MIAMI, FL 33131




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                                                                                             14 requires its passengers to file cruise-related suits only in this federal district and

                                                                                             15 division, as opposed to any other place in the world.

                                                                                             16
                                                                                                           4.    Defendant PRINCESS, at all times material hereto, personally or through
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                                                                                             18 an agent:
                                                                                             19
                                                                                                                 a.      Operated, conducted, engaged in or carried on a business venture
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                                                                                                                         in this state and/or county or had an office or agency in this state
                                                                                             21

                                                                                             22                          and/or county;
                                                                                             23
                                                                                                                 b.      Was engaged in substantial activity within this state;
                                                                                             24
                                                                                                                 c.      Operated vessels in the waters of this state;
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                                                                                             26
                                                                                                                 d.      Purposefully availed themselves of the benefits of conducting

                                                                                             27                          activities in California by purposefully directing their activities
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                                                                                                                         toward the state, thereby obtaining the benefits and protections of
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                                                                                              2                          the state’s laws;

                                                                                              3                  e.      The acts of the Defendant set out in this Complaint occurred in
                                                                                              4
                                                                                                                         whole or in part in this state and/or county;
                                                                                              5

                                                                                              6                  f.      The cruise line ticket for the Plaintiff requires that suit be brought
                                                                                              7                          in this Court against the named Defendant in this action.
                                                                                              8
                                                                                                                                             The Parties
                                                                                              9
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                                                                                             10          5.      Plaintiff was and is a resident of Florida.
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                                                                                             11          6.       At all times material, Defendant PRINCESS was and is a for profit
                                                  2 S Biscayne Boulevard, Suite 1776




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                                                                                                  corporation with its worldwide headquarters, principal address and principal place of
                                                           MIAMI, FL 33131




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                                                                                             14 business located in the County of Los Angeles.

                                                                                             15          7.      At all times material, Defendant PRINCESS was and is a common
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                                                                                                  carrier engaged in the business of marketing, selling and operating a cruise line out of
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                                                                                             18 various ports throughout the world including, Los Angeles, California and Fort
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                                                                                                  Lauderdale, Florida.
                                                                                             20
                                                                                                         8.      At all times material, Defendant PRINCESS derived substantial revenue
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                                                                                             22 from cruises originating and terminating in various ports throughout the world

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                                                                                                  including, Los Angeles, California and Fort Lauderdale, Florida.
                                                                                             24
                                                                                                         9.      At all times material, Defendant PRINCESS operated, managed,
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                                                                                             26
                                                                                                  maintained, supervised, chartered, and/or controlled a large commercial vessel named

                                                                                             27 Caribbean Princess.
                                                                                                                                                  3
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                                                                                                        10.    At all times material, Defendant PRINCESS transported fare-paying
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                                                                                              2 passengers on cruises aboard its vessel Caribbean Princess.

                                                                                              3         11.    Plaintiff does not know the true names and capacities of Defendants sued
                                                                                              4
                                                                                                  herein as DOES 1 – 10, inclusive, and therefore sues these Defendants by such
                                                                                              5

                                                                                              6 fictitious names. Plaintiff is informed and believes that each of the Doe Defendants

                                                                                              7 was in some manner legally responsible for the damages alleged below. The Plaintiff

                                                                                              8
                                                                                                  will amend this Complaint to set forth the true and capacities when ascertained, along
                                                                                              9
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                                                                                             10 with the appropriate charging allegations.
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                                                                                             11         12.    Plaintiff is informed and believes, that all Defendants, including those
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                  sued as DOES 1 – 10, were and are the agents, alter egos, partners, joint venturers,
                                                           MIAMI, FL 33131




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                                                                                             14 principals, shareholders, servants, and employees and the like of their co-Defendants,

                                                                                             15 and in doing the things hereinafter mentioned, were acting in the course and scope of

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                                                                                                  their authority as such agents, alter egos, partners, joint venturers, principals,
                                                                                             17

                                                                                             18 shareholders, servants, and employees and the like with permission, ratification or
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                                                                                                  consent of their co-Defendants and thus are legally liable for the damages resulting
                                                                                             20
                                                                                                  from the acts or omissions of the others.
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                                                                                             22                                   General Allegations
                                                                                             23
                                                                                                        13.    At all times material, the Plaintiff was a fare paying passenger and
                                                                                             24
                                                                                                  lawfully aboard the vessel Caribbean Princess.
                                                                                             25

                                                                                             26
                                                                                                        14.    On or about November 2018, 2019, the Plaintiff was severely injured

                                                                                             27 when she slipped and fell on a wet and unreasonably slippery gangway as she was
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                                                                                                  attempting to disembark the Caribbean Princess at a scheduled port of call in Jamaica.
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                                                                                              2          15.     These conditions were either created by the Defendants and their

                                                                                              3 employees or had been in place for a sufficient period of time so that the Defendants

                                                                                              4
                                                                                                  knew or should have known about them through the exercise of reasonable care.
                                                                                              5

                                                                                              6          16.     Alternatively, the Defendants and/or their employees, at all material
                                                                                              7 times, undertook to maintain the subject gangway to ensure that passengers, including

                                                                                              8
                                                                                                  the Plaintiff, could safely disembark the vessel, and as previously stated, thereby
                                                                                              9
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                                                                                             10 acquired a duty to exercise reasonable care in those undertakings.
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                                                                                             11          17.     The dangerous nature of the gangway was not open and obvious and
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                                                                                                  there were no warning signs present to alert the Plaintiff of the same.
                                                           MIAMI, FL 33131




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                                                                                             14          18.     Defendants, upon information and belief and at all times material, has
                                                                                             15 actual knowledge from prior experience on its vessels of similar incidents which often

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                                                                                                  resulted in injuries.
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                                                                                             18          19.     As a result of the negligence of Defendants, their vessel and/or crew, the
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                                                                                                  Plaintiff suffered serious, permanent and debilitating injuries to her shoulder requiring
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                                                                                                  total shoulder replacement surgery.
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                                                                                             22                               FIRST CAUSE OF ACTION
                                                                                                                          GENERAL MARITIME NEGLIGENCE
                                                                                             23

                                                                                             24          20.     Plaintiff hereby incorporates by reference, as though fully set forth
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                                                                                                  herein, paragraphs 1 through 19, and alleges as follows:
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                                                                                                         21.     At all times material, Defendants owed the Plaintiff a non-delegable duty
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                                                                                                  to exercise reasonable care required of an ocean common carrier for the safety of a
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                                                                                              2 fare-paying passenger.

                                                                                              3          22.     Alternatively, at all material times, Defendants and/or their employees,
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                                                                                                  engaged in certain affirmative undertakings, as hereafter alleged, and in doing so
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                                                                                              6 acquired a duty to exercise reasonable care in those undertakings.

                                                                                              7          23.     It was also the duty of Defendants to see to the safe embarkation and
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                                                                                                  disembarkation of the Plaintiff at the scheduled port-of-call, which is a heightened
                                                                                              9
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                                                                                             10 duty of care for conditions peculiar to the maritime context.
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                                                                                             11          24.     On or about November 28, 2019, the Defendants and/or their agents,
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                  servants, joint venturers and/or employees, breached its duty to provide the Plaintiff
                                                           MIAMI, FL 33131




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                                                                                             14 with reasonable care under the circumstances.

                                                                                             15          25.     On or about November 28, 2019, the Plaintiff was injured, due to the
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                                                                                                  fault and/or negligence of Defendants and/or their agents, servants, joint venturers
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                                                                                             18 and/or employees, as follows:
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                                                                                                                 a.      Failure to provide its passengers, including the Plaintiff, with
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                                                                                                                         reasonable care under the circumstances;
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                                                                                             22                  b.      Failure to provide a reasonably safe place to walk;
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                                                                                                                 c.      Failure to provide the Plaintiff with means to safely disembark the
                                                                                             24
                                                                                                                         vessel at the scheduled port of call;
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                                                                                             26
                                                                                                                 d.      Failure to provide the Plaintiff with assistance to safely disembark

                                                                                             27                          the vessel at the scheduled port of call;
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                                                                                                                 e.      Failure to warn the Plaintiff of the wet and unreasonably slippery
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                                                                                              2                          nature of the subject gangway;

                                                                                              3                  f.      Failure to warn the Plaintiff of the risks and/or dangers associated
                                                                                              4
                                                                                                                         with the wet, and/or unreasonably slippery condition of the
                                                                                              5

                                                                                              6                          gangway, including but not limited to hazardous co-efficient of
                                                                                              7                          friction in light of the wet, and/or unreasonably slippery condition
                                                                                              8
                                                                                                                         of the gangway;
                                                                                              9
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                                                                                             10                  g.      Failure to maintain the area where the Plaintiff’s incident occurred
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                                                                                             11                          in a reasonably safe manner;
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                                 h.      Failure to maintain the area where the Plaintiff’s incident occurred
                                                           MIAMI, FL 33131




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                                                                                             14                          free from unreasonably dangerous conditions and/or hazards;
                                                                                             15                  i.      Failure to routinely inspect the area on a reasonably timely basis;
                                                                                             16
                                                                                                                 j.      Failure adequately inspect the area where the incident occurred for
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                                                                                             18                          dangerous or hazardous conditions;
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                                                                                                                 k.      Failure to promulgate and/or enforce adequate policies and/or
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                                                                                                                         procedures with regard to detecting and preventing incidents, such
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                                                                                             22                          as the Plaintiff’s, from occurring on its vessels, including but not
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                                                                                                                         limited to the Caribbean Princess.
                                                                                             24
                                                                                                                 l.      Failure to correct the dangerous or hazardous conditions which
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                                                                                                                         caused the Plaintiff to suffer her incident;

                                                                                             27                  m.      Failure to eliminate or modify the dangerous or hazardous
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                                                                                                                         conditions which caused the Plaintiff to suffer her incident;
                                                                                              1

                                                                                              2                  n.      Failure to properly train and instruct its employees/crewmembers

                                                                                              3                          to detect, report and remedy dangerous and/or hazardous
                                                                                              4
                                                                                                                         conditions;
                                                                                              5

                                                                                              6                  o.      Failure to ascertain the cause of prior similar accidents happening
                                                                                              7                          on any of the Defendants’ vessels fleet wide so as to take adequate
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                                                                                                                         measures to prevent their reoccurrence, and more particularly
                                                                                              9
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                                                                                             10                          Plaintiff’s incident; and/or all of which caused and/or contributed
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                                                                                             11                          to the Plaintiff becoming injured;
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                                 p.      Failure to warn the Plaintiff of the dangerous or hazardous
                                                           MIAMI, FL 33131




                                                                                             13

                                                                                             14                          condition posed to her;
                                                                                             15                  q.       Other acts or omissions constituting a breach of the duty to use
                                                                                             16
                                                                                                                         reasonable care under the circumstances which are revealed
                                                                                             17

                                                                                             18                          through discovery.
                                                                                             19
                                                                                                         26.     At all material times, Defendants have exclusive custody and control of
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                                                                                                  the above named vessel.
                                                                                             21

                                                                                             22          27.     At all material times, Defendants negligently failed to determine,
                                                                                             23
                                                                                                  eliminate, modify, correct, or warn the Plaintiff of the dangerous and hazardous
                                                                                             24
                                                                                                  condition which resulted in her injuries. Defendants violated the International Safety
                                                                                             25

                                                                                             26
                                                                                                  Management Code and failed to have a proper, adequate and safe Safety Management

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                                                                                                  System Manual and/or failed to properly implement the Safety Management System
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                                                                                              2 Manual aboard the vessel. All of which caused the Plaintiff to be injured.

                                                                                              3          28.     Defendants knew of the foregoing conditions causing Plaintiff’s accident
                                                                                              4
                                                                                                  and did not correct them, or the conditions existed for a sufficient length of time so
                                                                                              5

                                                                                              6 that Defendants in the exercise of reasonable care under the circumstances should

                                                                                              7 have learned of them and corrected them.

                                                                                              8
                                                                                                         29.     As a result of the negligence of Defendants, the Plaintiff was injured
                                                                                              9
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                                                                                             10 about plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of
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                                                                                             11 enjoyment of life, disability, disfigurement, aggravation of any previously existing
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                             12
                                                                                                  conditions therefore, incurred medical expenses in the care and treatment of plaintiff’s
                                                           MIAMI, FL 33131




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                                                                                             14 injures and suffered physical handicap.. The injuries are permanent and continuing in

                                                                                             15 nature, and Plaintiff will suffer the losses and impairments in the future. In addition,

                                                                                             16
                                                                                                  Plaintiff lost the benefit of her vacation, cruise, and transportation costs.
                                                                                             17

                                                                                             18          WHEREFORE the Plaintiff demands judgment for all damages recoverable
                                                                                             19
                                                                                                  under the law against the defendant and demands trial by jury.
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                                                                                                                                      Prayer for Relief
                                                                                             21

                                                                                             22          WHEREFORE, the Plaintiff respectfully request the Court enter judgment in
                                                                                             23
                                                                                                  her favor and against the Defendants as follow:
                                                                                             24
                                                                                                         1.      To enter judgment in favor of the Plaintiff against Defendants on all
                                                                                             25

                                                                                             26
                                                                                                                 causes of action as alleged herein;

                                                                                             27          2.      To award compensatory damages in the amount to be ascertained at trial;
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                                                                                                           3.     To award costs of suit and attorney’s fees, as permitted by law;
                                                                                               1

                                                                                               2           4.     For prejudgment interest according to proof; and

                                                                                               3           5.     To enter such other and further relief as the Court deems just under the
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                                                                                                                  circumstances.
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                                                                                                                                             LIPCON MARGULIES ALSINA & WINKLEMAN
                                                                                               7

                                                                                               8 DATED: January 29, 2020.

                                                                                               9
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                              10                                             BY: s/ Carol L. Finklehoffe
                                                                                                                                                 CAROL L. FINKLEHOFFE
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204




                                                                                              11                                                 Attorney for Plaintiff
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                              12
                                                           MIAMI, FL 33131




                                                                                              13
                                                                                                                                       Demand for Jury Trial
                                                                                              14
                                                                                                           Plaintiff LORRAINE BRADY hereby demands a trial by jury on all claims for
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                                                                                              16 relief.

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                                                                                              18                                             LIPCON MARGULIES ALSINA & WINKLEMAN
                                                                                              19
                                                                                                   DATED: January 29, 2020.
                                                                                              20

                                                                                              21
                                                                                                                                             BY: s/ Carol L. Finklehoffe
                                                                                              22                                                 CAROL L. FINKLEHOFFE
                                                                                                                                                 Attorney for Plaintiff
                                                                                              23

                                                                                              24

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                                                                                                                                                10
                                                                                              28 Complaint and Demand for Jury Trial
